                   Case
                Case     20-2413, Document
                     1:15-cv-07433-LAP     154, 02/03/2021,
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                             UNITED STATES COURT OF APPEALS
                                        FOR THE
                                     SECOND CIRCUIT
                                              _________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      3rd day of February, two thousand twenty-one.
                                                                  USDC SDNY
      Before:     José A. Cabranes,                               DOCUMENT
                  Rosemary S. Pooler,
                                                                  ELECTRONICALLY FILED
                  Reena Raggi,
                         Circuit Judges.                          DOC #:   _________________
      ______________________________                              DATE FILED: ______________

      Virginia L. Giuffre,
                                                                    STATEMENT OF COSTS
                   Plaintiff - Appellee,
                                                                    Docket No. 20-2413
      v.

      Ghislaine Maxwell,

                   Defendant - Appellant,

      Sharon Churcher, Jeffrey Epstein,

                   Respondents,


      Julie Brown, Miami Herald Media Company, Alan M.
      Dershowitz, Michael Cernovich, DBA Cernovich
      Media,

                Intervenors.
      ______________________________


             IT IS HEREBY ORDERED that costs are taxed in the amount of $189.90 against
      Appellant Ghislaine Maxwell and in favor of Intervenors Julie Brown and Miami Herald Media
      Company.


                                                          For the Court:

                                                          Catherine O’Hagan Wolfe,
                                                          Clerk of Court




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